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FORM 8A. Entry of Appearance                                                        Form 8A (p.1)
                                                                                       July 2020


                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

                               ENTRY OF APPEARANCE

          Case Number: 24-1098
  Short Case Caption: Brita LP v. ITC

 Instructions: Refer to Fed. Cir. R. 47.3 for requirements governing
 representation and appearance in this court. Counsel must immediately file an
 amended Entry of Appearance if contact information changes and update
 information through PACER’s Manage My Account. Non-admitted government
 counsel should enter N/A in lieu of an admission date. Use the second page to
 add additional counsel.

 Party Information. List all parties, intervenors, amicus curiae, or movants
 represented by below counsel; “et al.” is not permitted.

                                           Brita LP

 Principal Counsel:                                           Admission Date:
 Firm/Agency/Org.:
 Address:


 Phone:                                   Email:
 Other Counsel: Noah Priluck*                                 Admission Date: 12/10/2021
 Firm/Agency/Org.: Morrison & Foerster LLP
 Address:
            2100 L Street NW, Suite 900, Washington, DC 20037

 Phone: (202) 572-6761                    Email: NPriluck@mofo.com

 I certify under penalty of perjury that (1) the submitted information is true and
 accurate and (2) I am authorized to enter an appearance by all other listed counsel.
       7/22/24
 Date: _________________                    Signature:     /s/ Noah Priluck

                                            Name:          Noah Priluck

 * Admitted only in Iowa and Nebraska. Practice supervised by principals of the firm admitted to
 the DC bar.
